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                                                                                                 B
                IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF KANSAS
HSBC BANK (URUGUAY) S.A.,         )
     Plaintiff,                   )
                                  )
v.                                ) Case No. 2:21-cv-02435-DDC-TJJ
                                  )
SEABOARD CORPORATION,             )
     Defendant.                   )
                                  )

                        DECLARATION OF GABRIEL FERREIRA

      I, Gabriel Ferreira, declare as follows:

      1.     I am a representative of the Uruguayan Association of Experts (AUPE), the court-

appointed bankruptcy trustee in Case No. 2-40001/2016 pending before the Bankruptcy Court of

First Term, the proceeding involving the bankruptcy of Cereoil Uruguay, S.A. (“Cereoil”).

      2.     As trustee, AUPE is authorized to file revocatory actions (also called a “Claw-back”

actions) with the purpose of “returning to the bankruptcy estate assets and rights that left the

debtor’s property in the situations provided …” in the Bankruptcy Law.

      3.     There are insufficient assets in the Cereoil bankruptcy to pay the creditors.

      4.     The bankruptcy of Cereoil was filed by two Directors of Cereoil: Dave Dannov and

Gail Cummings.

      5.     As trustee, I am familiar with HSBC Bank (Uruguay) S.A. (“HSBC UY”) and

Seaboard Overseas Limited in that both HSBC UY are claimants against the bankruptcy estate.

      6.     In association with the bankruptcy proceedings, I have filed a “Claw-back” action

against Seaboard Uruguay Holdings Ltd, Seaboard Overseas Limited and Seaboard Corporation.

       7.    A claw-back action is a remedy aimed at returning property to the bankruptcy

estate. It is not brought on behalf of a specific creditor, and it does not resolve claims for damages

that a creditor may have against a third-party.

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        8.     As trustee, I do not have authority to bring individual claims for relief on behalf of

 a claimant such as HSBC UY against a third party such as Seaboard. Any claims that HSBC UY

 may have against Seaboard for damages claimed by HSBC UY will not be litigated in the

 bankruptcy.

        9.     I am aware that HSBC UY has made claims against Seaboard Corporation in Case

 No. 2:21-cv-02435-DDC-TJJ in the United States District Court for the District of Kansas.

        10.    The separate claims of HSBC UY against Seaboard in the United States do not

 interfere with the bankruptcy proceeding, as Uruguayan law permits such third-party actions.

        11.    Any amounts collected by HSBC UY by virtue of the individual claims filed by

 HSBC UY against Seaboard Corporation in Case No. 2:21-cv-02435-DDC-TJJ in the United

 States District Court for the District of Kansas, will be deducted from the amounts that HSBC

 UY is owed in Cereoil’s bankruptcy proceeding.


       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct. Executed on January 28, 2022.



                                              _______________________________________
                                                          Gabriel Ferreira




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